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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

       UNITED STATES OF AMERICA

       v.
                                                           No. 4:22-CR-00612-S
       EDWARD CONSTANTINESCU,
       PERRY “PJ” MATLOCK,
       JOHN RYBARCZYK,
       GARY DEEL,
       STEFAN HRVATIN,
       TOM COOPERMAN,
       MITCHELL HENNESSEY,
       DANIEL KNIGHT.


                                      PROPOSED ORDER

       Upon consideration of Defendant Edward Constantinescu’s Unopposed Motion to Unseal,

it is hereby ORDERED that: ECF 276 be unsealed and that all responsive filings be unsealed.

Dated this ______ day of June 2023.


                                                          ___________________________
                                                          The Honorable Andrew S. Hanen




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                               CERTIFICATE OF SERVICE

       I hereby certify that on June 2, 2023, a true and correct copy of the foregoing document

was served electronically on all counsel of record via the Court’s CM/ECF.

                                                          /s/ Matthew A. Ford
                                                          Matthew A. Ford




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